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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK


State Of New York, et al.,
                                                  No. 18-cv-2921 (JMF)
                      Plaintiffs,
                                                  Hon. Jesse M. Furman
                      v.
                                                  MOTION FOR ADMISSION
United States Department of Commerce, et al.,     PRO HAC VICE

                      Defendants.


       Pursuant to Rule 1.3 of the Local Rules of the United States Courts for the Southern and

Eastern Districts of New York, I, Barbara H. Wootton hereby move this Court for an Order for

admission Pro Hac Vice to appear as counsel for Plaintiffs, in the above-captioned action.

       I am a member in good standing of the bars of the state of Maryland and the District of

Columbia, and there are no pending disciplinary proceedings against me in any state or federal

court. I have never been convicted of a felony. I have never been censured, suspended,

disbarred, or denied admission or readmission by any court.



Dated: October 9, 2018               Respectfully Submitted,

                                     Applicant Signature: /s/ Barbara H. Wootton

                                     Applicant’s Name: Barbara H. Wootton

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